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 8   ZOOSK, INC.
 9
                                     UNITED STATES DISTRICT COURT
10
                               NORTHERN DISTRICT OF CALIFORNIA
11
                                        SAN FRANCISCO DIVISION
12

13
     JUAN FLORES-MENDEZ, an individual and                Case No. 3:20-cv-4929-WHA
14   TRACEY GREENAMYER, an individual, and
     on behalf of classes of similarly situated           DECLARATION OF JULIANA VON
15   individuals,                                         TROTHA IN SUPPORT OF
                                                          DEFENDANT ZOOSK, INC.’S
16                     Plaintiffs,                        OPPOSITION TO PLAINTIFF TRACY
                                                          GREENAMYER’S MOTION FOR
17          v.                                            CLASS CERTIFICATION
18   ZOOSK, INC., a Delaware corporation,                 DATE:       July 7, 2022
                                                          TIME:       8:00 a.m.
19                     Defendant.                         CTRM.:      12, 19th Floor, 450 Golden
                                                                      Gate Avenue, San Francisco,
20                                                                    CA 94102
21                                                        Judge:      The Honorable William Alsup
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        DECLARATION OF JULIANA VON TROTHA IN SUPPORT OF OPPOSITION TO PLAINTIFFS’ MOT. FOR CLASS CERT.
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 1          I, JULIANA VON TROTHA, hereby declare, under penalty of perjury, that the following

 2   statements are true and correct:

 3          1.      I have been the Head of Legal for Spark Networks Services GmbH since August 1,

 4   2021. I was previously Senior Legal Counsel at Spark from August 15, 2019 until July 31, 2021.

 5          2.      I submit this Affirmation in support of Zoosk, Inc.’s (“Zoosk”) Opposition to

 6   Plaintiffs’ Motion for Class Certification.

 7          3.      I make this declaration on the basis of my knowledge, information and belief, which

 8   includes knowledge and information obtained by and through agents, representatives, and service

 9   providers of Zoosk.

10          4.      Zoosk is a leading online dating company that offers online and mobile access to its

11   dating application. The application is free, although users may purchase a subscription for

12   additional functionality.

13          5.      Each Zoosk user account is opened by a user providing an email address and is

14   thereafter tied to and identified by that email address. As of early 2020, Zoosk had records for

15   approximately                 unique Zoosk user accounts, each associated with a unique email

16   address. Because an individual could create multiple Zoosk user accounts if he or she used

17   different email addresses for each account, the number of unique Zoosk users is somewhat smaller

18   than the number of unique Zoosk user accounts.

19          6.      At all relevant times Zoosk has maintained the records associated with the Zoosk

20   user accounts in a database

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24          7.      In January 2020, Zoosk’s information security team detected that unauthorized

25   actors had gained access to Zoosk’s AWS production environment (the “Intrusion”), in which

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 1              Zoosk’s information security team cut off the intruder’s access to the AWS production

 2   environment within about 24 hours of his gaining access.

 3         8.       In January 2020, Zoosk determined, based on a review of AWS Cloudtrail logs, that

 4   during the Intrusion the unknown attacker had gained access

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 6                                                                                                       The

 7   AWS Cloudtrail logs showed no evidence that during the Intrusion the attacker accessed

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 1         10.     In May 2020, a data set was posted for sale on the dark web and identified as records

 2   stolen from Zoosk.

 3         11.     Zoosk verified that the data set posted for sale on the dark web was authentic Zoosk

 4   user account data; that its contents consisted of the Zoosk user account records contained

 5                                                                   and that its contents did not include

 6   any of the Zoosk user account records contained

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 8         12.     Zoosk is aware of no evidence, and has no reason to believe, that during the Intrusion

 9   the attacker accessed                                    Nor is Zoosk aware of any evidence, nor

10   does Zoosk have any reason to believe, that during the Intrusion the attacker accessed

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12         13.     In early June 2020, Zoosk sent an email (a “notice email”) to the email address

13   associated with each of the accessed Zoosk user account records, which email reported that data

14   associated with the Zoosk user account associated with that email address had been accessed in

15   the Intrusion. Zoosk did not provide any other notice of the Intrusion to any Zoosk user.

16         14.     Zoosk also provided notification to regulators as required by applicable law,

17   including in California. The notification sent by Zoosk to the California Attorney General is

18   attached as Exhibit A hereto.

19         15.     When Plaintiff Tracy Greenamyer sought to become a putative class representative,

20   counsel for Plaintiffs provided counsel for Zoosk with the email address Ms. Greenamyer used to

21   create her Zoosk user account. Zoosk has subsequently used that email address to find the user

22   records associated with Ms. Greenamyer’s Zoosk user account and to determine where in the

23   Zoosk user account database those records were located. Zoosk has determined that none of the

24   data associated with Ms. Greenamyer’s Zoosk user account was contained

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26                        and Ms. Greenamyer’s Zoosk user account is therefore not among the Zoosk
27   user accounts that Zoosk has determined to have been impacted by the Intrusion. That being the

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 1   case, Zoosk never sent a notice email to the email address associated with Ms. Greenamyer’s

 2   Zoosk user account. Zoosk accordingly is aware of no evidence, and has no reason to believe, that

 3   any data associated with Ms. Greenamyer’s Zoosk user account was accessed during the Intrusion.

 4            16.     Attached hereto as Exhibit B is a true and correct copy of the operative version of

 5   Zoosk’s        Privacy     Policy    last    updated      on     June     6,   2022     available      at:

 6   https://docviewer.zoosk.com/legal-privacy-en.html. This version of the Privacy Policy does not

 7   state that “Zoosk will take reasonable measures to help protect your information in an effort to

 8   prevent loss, misuse and unauthorized access, disclosure, alteration or destruction and to treat it in

 9   accordance with this Policy”, (see Section 6).

10            17.     On March 5, 2021, Zoosk blocked Ms. Greenamyer’s account at 12:47 GMT due to

11   a foreign IP address login that occurred using Greenamyer’s username and password

12                                                                                              this login to

13   Ms. Greenamyer’s account by a foreign IP address cannot have been accomplished as a result of

14   the Intrusion.

15            18.     For the seven-day period between June 1, 2022 and June 8, 2022, there were

16             visits to Zoosk webpages. Of those                   visits, only      percent of those visits

17   (or            were visits to the Zoosk’s webpage with its Privacy Policy.

18

19            I declare under penalty of perjury that the foregoing is true and correct. Executed this 10th

20   day of June 2022, at Berlin, Germany.

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                                                             __________________________________
23                                                                    JULIANA VON TROTHA

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   EXHIBIT A
     FILED
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   EXHIBIT B
     FILED
    UNDER
     SEAL
